   > NDA, which we believe represents a fair compromise. Happy to discuss at a
   > time that is convenient to you. If there are open issues it might be
   > easier to discuss on the phone.
   >
   >
   >
   > Specifically:
   >
   > 1.      Per your request, we added the word proprietary.
   >
   > 2.      Per your request, we put your non-use clause back into the
   > agreement. However, to mitigate our concerns re: the language being
   > incorrectly interpreted as a non-compete, we tightened the language around
   > the definition of the project and also added language making it clear that
   > the NDA was not intended to limit outside activities.
   >
   > 3.      It is important that we have the ability to discuss this project
   > with potential LPs and investors. Thus we have kept the reference to
   > a?opotential investors,a? however, we have added language stating that
   > (a) wea?Tll notify Bloomberry ifwe disclose info to potential LPs and (b)
   > such partners will agree to the confidentiality agreementa?Ts terms.
   >
   > 4.      Per your request, we have added forced disclosure language.
   >
   > 5.      With respect to the regulatory language, Cantor provides admin
   > services to Global Gaming (and several other businesses). Some of your
   > confidential information will hit Cantora?Ts servers in connection with
   > Global Gaminga?Ts evaluation of this opportunity. In the ordinary course
   > of our business, various regulatory agencies review our tape. They do not
   > tell us what they are reviewing and unfortunately we cana?Tt control them.
   > We have never had an issue on this point and we are hopeful that you can
   > get comfortable with it as well. This does not mean that Cantor
   > professionals not actively engaged on this matter will access your
   > information; and we have never had a situation, and I am not aware of any
   > other U.S. financial services company having had a situation, where a
   > regulatory body has disclosed confidential information.
   >
   > 6.      Per your request, happy to backdate this NDA to the beginning of
   >March.
   >
   >
   >Thank you.
   >
   > From: Occena, Estela T. [mailto:EOccena@ICTSI.com]
   > Sent: Tuesday, May 24, 2011 11:06 AM
   > To: Russell, Kevin
   > Cc: Benny J. Tan; Rein, Jon
   > Subject: Re: Cantor I Bloomberry NDA
   >
   >
   >
   > Thank you Russell. Will wait for your confirmation.
   >
   > Regards,
   >
   > Estela Tuason-Occena
   >
   > Sent from my iPad
   >
   >
   > On May 24, 2011, at 10:34 PM, "Russell, Kevin" <KRussell@cantor.com>
   >wrote:
   >
   >      I need to look at the NDA again, but I dona?Tt anticipate an issue
   > backdating the ND A.




Confidential                                                                      BRHI 0001272
                                                                                  BLOOM_0001272
   >
   >
   >
   >
   >
   >
   >
   >
   >     Kevin Michael Russell
   >     Vice President & Assistant General Counsel
   >     Cantor Fitzgerald
   >     110 East 59th Street
   >     New York, NY 10022
   >     kmssell@cantor.com I www.cantor.com
   >     (212) 294-7824 I fax: (646) 304-2036
   >
   >     From: Occena, Estela T. [mai.ltQ;.E.Q.c_c;;\,.na@J.C.I.St.c.mn]
   >     Sent: Tuesday, May 24, 2011 10:37 AM
   >     To: Russell, Kevin
   >     Cc: Benny J. Tan; Rein, Jon
   >     Subject: Re: Cantor/ Bloombeny NDA
   >
   >
   >
   >     Thank you Benny and Russell. Can we antedate the signing of the ND A as
   > we have been providing confidential information since March?
   >
   >     Regards,
   >
   >    Estela Tuason-Occena
   >
   >     Sent from my iPad
   >
   >
   >     On May 24, 2011, at 10:12 PM, "Russell, Kevin" <KRussell@cantor.com>
   >wrote:
   >
   >          Thanks for the quick response.
   >
   >
   >
   >           1.    Ok.
   >
   >          2.     On the non-use, we have never accepted such a provision in an
   > NDA. Wea?Tll discuss internally and revert back to you.
   >
   >          3.     Wea?Tll discuss internally and revert back to you.
   >
   >          4.     You are not being subjected to regulations that impact cantor,
   > however, Cantor provides services to Global Gaming, including but not
   > limited to legal and financial advisory services (as a Representative of
   >the NDA).
   >
   >
   >
   >          Wea?Tll discuss points #2 and 3 internally and revert back to you.
   >
   >
   >
   >
   >          Kevin Michael Russell
   >          Vice President & Assistant General Counsel
   >          Cantor Fitzgerald
   >           110 East 59th Street
   >          New York, NY 10022




Confidential                                                                          BRHI 0001273
                                                                                      BLOOM_0001273
   >          kmssell@cantor.com I www.cantor.com
   >          (212) 294-7824 I fax: (646) 304-2036
   >
   >          From: Benny J.Tan[mailto:sjtan@picazolaw.com]
   >          Sent: Tuesday, May 24, 2011 8:56 AM
   >          To: Russell, Kevin
   >          Cc: Occena, Estela T.; Rein, Jon
   >          Subject: Re: Cantor I Bloomberry NDA
   >
   >
   >
   >          Russel,
   >
   >          We have the following further comments below:
   >
   >           1. Our preference is to redact the word proprietary because it suggests
   > that our business people might need to make a judgment on what is
   > proprietary to you - how do they know? Instead we prefer to go with
   > much broader language, simply stating that unless otherwise carved out
   > in the NDA, everything you provide to us, proprietary or not, is kept
   > confidential. I actually think that this broader language is beneficial
   > to you, however, if you are more comfortable with the change thats
   > fine.
   >
   >          BT Comments: This Confidentiality Agreement will apply only during this
   > period when GGAM is evaluating whether it will sign up with Bloomberry
   > or not. If GGAM signs the Management Services Agreement with
   > Bloomberry, the confidentiality clause in that Agreement will supersede
   > and replace this one. Under this context, and considering the very
   > competitive nature of this business, we require the confidentiality
   > agreement to cover our proprietary and non-public information. How will
   > your business people know if it is proprietary? If the information is
   > produced, prepared or generated by Bloomberry officers, personnel and
   > consultant and it pertains to Bloomberry business, then we can claim and
   > your business people should know that they are proprietary information.
   > (Please note also that GGAM is already protected by clause 5 which
   > enumerates the exclusions. Please note that if GGAM does not sign up
   > with Bloomberry, GGAM would have no legitimate interest in all the
   > confidential, proprietary and non-public information that Bloomberry
   > will provide to GGAM. On the other hand, if GGAM signs up with
   > Bloomberry, then this provision will be replaced by the confidentiality
   > clause in that Agreement.
   >
   >
   >
   >
   >
   >
   >          We can't accept the non-use clause because it could be interpreted as a
   > non-compete, which I don't believe is your intended purpose. Happy to
   > discuss at your convenience.
   >
   >          BT Comment: How can the provision which prohibits GGAM from using our
   > confidential information for any other purpose than what the
   > confidential information was given in the first place be construed as a
   > non-compete? Again we will emphasize that if GGAM does not sign up with
   > Bloomberry, GGAM will have no legitimate use of the confidential
   > information that Bloomberry has provided to GGAM under this
   > Agreement. We will also point out that if GGAM can prove that the
   > information falls under the exclusions in Clause 5, then this
   > prohibition does not apply.
   >
   >
   >
   >




Confidential                                                                             BRHI 0001274
                                                                                         BLOOM_0001274
   >
   >
   >          2. We need the ability to disclose confidential information to
   > potential investors. How else can we assist in raising capital? Anyone
   > we share the confidential info with will also be subject to this NDA.
   >
   >          BT Comment: This Confidentiality Agreement is for the sole purpose of
   > allowing GGAM access to our confidential information to allow GGAM to
   > evaluate whether it wants to sign up with Bloomberry or not. Bloomberry
   > is not asking GGAM to raise capital for the Project. If GGAM signs up
   > with Bloomberry, another Agreement with a separate confidentiality
   > clause will apply. GGAM is therefore not allowed to disclose the
   > information it obtained under this adhoc Confidentiality Agreement to
   > "potential investors".
   >
   >
   >
   >
   >
   >
   >          We are subject to many regulatory regimes, both in the gaming and
   > financial services sectors. We need the ability to disclose
   > confidential information to our regulators and are required to do so
   > upon their request.
   >
   >          BT Comment: We are dealing with GGAM, not Cantor. Why are we being
   > subjected to the regulations applicable to Cantor?
   >          If laws and regulations applicable to GGAM will require disclosure of
   > our confidential information obtained here (for GGAM's evaluation of
   > whether it wants to sign up with Bloomberry or not), then GGAM needs to
   > inform us as soon as possible and it should allow and assist us in
   > obtaining a court order to contest or limit such disclosure of our
   > confidential information.
   >
   >
   >
   >
   >
   >
   >          3. As an SEC/FDIC/FINRA regulated financial services firm, Cantor is
   > required to retain all emails etc on servers. We are not permitted to
   > delete our tape. Any info we keep will be subject to the ND A's
   > non-disclosure provisions.
   >
   >          BT Comment: We are dealing with GGAM, not Cantor. Why are are we being
   > subjected to regulations applicable to Cantor?
   >
   >
   >
   >
   >
   >
   >          4. 2 years is fine.
   >
   >          BT Comment: Thank you
   >
   >
   >
   >
   >
   >
   >          5. Thankyou.
   >
   >          Russel, if you want to discuss this in the next hour, you can call my
   > mobile #+63917 534 4476.




Confidential                                                                           BRHI 0001275
                                                                                       BLOOM_0001275
